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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

ASTRID M. FLOWERS,                                     )
on behalf of themself                                  )
and all others similarly situated,                     )
                                                       )
                Plaintiff,                             )
                                                       )
v.                                                     )
                                                       ) Civil Action No.
THE WASHINGTON UNIVERSITY d/b/a                        )
Washington University School of Medicine,              )
                                                       )
                Defendant.                             )


                       VERIFIED COMPLAINT FOR VIOLATIONS OF
                           THE FAIR LABOR STANDARDS ACT
                        AND THE MISSOURI MINIMUM WAGE LAW


        COME NOW Plaintiff Astrid M. Flowers (hereinafter, “Mx. Flowers”) on behalf of

themself and all others similarly situated, by and through undersigned counsel, and for their

Complaint against The Washington University d/b/a Washington University School of Medicine

(hereinafter, “WashU”, “the School” or “Defendant”), states and alleges as follows:

                                NATURE OF THE COMPLAINT

     1. Plaintiff Astrid M. Flowers brings this action against Defendant under federal and law,

        specifically the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq. and the

        Missouri Minimum Wage Law (“MMWL”) Mo. Rev. Stat. § 290.500 et seq.

     2. Plaintiff brings this action, on behalf of themself and all others similarly situated, against

        Defendant for unpaid overtime compensation, and related penalties and damages

     3. Defendant’s payroll policies and practices were and are in direct violation of the FLSA,




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     29 U.S.C. § 201, et seq.

  4. Defendant’s payroll policies and practices were and are in direct violation of the MMWL,

     Mo. Rev. Stat. § 290.500 et seq

  5. For said violations, Plaintiff seeks, on behalf of themself and all others similarly situated,

     declaratory relief; unpaid back wages; liquidated and/or other damages as permitted by

     applicable law; and attorney’s fees, costs, and expenses incurred in this action.

                                          PARTIES

  6. Plaintiff Astrid M. Flowers is an adult resident of St. Louis, Missouri.

  7. Defendant The Washington University is a private, nonprofit corporation organized and

     chartered under the laws of the State of Missouri, with its primary place of business in Saint

     Louis, Missouri and may be served at its principal office address, One Brookings Drive,

     Campus Box 1058, St. Louis Missouri 63130.

                                JURISDICTION AND VENUE

  8. This Court has original federal question jurisdiction pursuant to 28 U.S.C. § 1331

     because this case is brought under the Fair Labor Standards Act, 29 U.S.C. § 201, et

     seq.

  9. This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1467 (a) over

     Plaintiff’s claims brought under the Missouri Minimum Wage Law, Mo. Rev. Stat. §

     290.500 et seq; Plaintiff’s claims for violations of the MMWL are so related to his

     federal claims in this action that they form part of the same case or controversy under

     Article III of the United States Constitution.

  10. Defendant The Washington University is a private, nonprofit corporation organized and

     chartered under the laws of the State of Missouri, and is currently registered to do business


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     in, employing citizens of, and subject to service of process in Missouri; this Court,

     therefore, has personal jurisdiction over The Washington University.

  11. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a substantial

     part of the events giving rise to Plaintiff’s claims occurred in this District.

                           COLLECTIVE ACTION ALLEGATIONS

  12. Plaintiff bring this Complaint as a collective action pursuant to Section 16(b) of the

     FLSA, 29 U.S.C. § 216(b), on behalf of all employee/participants of Washington

     University School of Medicine’s Departments of Developmental Biology, Cell

     Biology, & Regenerative Medicine (DCBRM) Postbaccalaureate Research Program

     who are or were employed by Defendant for the period of three years prior to the

     commencement of this action to the present, and who are or were not compensated at

     one-and-one-half times the regular rate of pay for all work performed in excess of forty

     hours per week.

  13. This Complaint may be brought and maintained as a collective action pursuant to

     Section 16(b) of the FLSA, 29 U.S.C. § 216(b), for all claims asserted by Plaintiff

     because their claims are similar to collective action members or putative collective

     action members.

  14. Plaintiff, collective action members, and putative collective action members are

     similarly situated because they worked as researchers on a non-exempt basis for the

     DCBRM Postbaccalaureate Research Program, and were denied overtime pay for hours

     worked over forty in a workweek, contrary to the requirements of both the FLSA and

     the MMWL.

  15. This Complaint may be brought and maintained as a collective action pursuant to

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     Section 16(b) of the FLSA, 29 U.S.C. § 216(b), for all claims asserted by Plaintiff

     because their claims are similar to collective action members or putative collective

     action members.


                            FACTUAL BACKGROUND

  16. For the last several years, Washington University School of Medicine in St.

     Louis has offered, through its departments of developmental biology, cell

     biology, and regenerative medicine (together referred to as “DCBRM”), a 1-

     year and 2-year postbaccalaureate research programs designed to provide

     college graduates with additional research experience to make them competitive

     for advanced careers in biomedical science.

  17. Participants in these programs, commonly referred to as post-bacc researchers,”

     are classified as full-time, benefits-eligible employees of Washington

     University, according to published material on the School’s website.

  18. Participants in these programs are designated as full-time, non-exempt hourly

     employees, compensated at an hourly rate of $17.10, or $35,568 annually, paid

     on a monthly basis, according to published material on the School’s website.

  19. Using the School’s published hourly and annual rates of pay for participants in

     these programs yields an expected number of hours of approximately 40 per

     week (between 39.9 and 40.3 depending on the method of rounding used).

  20. Although the School’s published statements unambiguously establish that post-

     bacc researchers are paid 40 hours per week, in practice these researchers are

     expected to work far more than 40 hours.

  21. Plaintiff Astrid Flowers was accepted into the School’s postbaccalaureate

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     research program in July 2023 and began employment as a post-bacc researcher

     on July 17, 2023 in the Developmental Biology Department.

  22. Upon beginning their employment, Mx. Flowers was surprised to learn that

     they were expected to work much more than eight hours per day.

  23. Throughout their time in the program, Mx. Flowers worked, on average, ten

     hours per day, Monday through Friday.

  24. In addition, Mx. Flowers was required to work an eight-hour shift on the

     weekend, approximately every other week.

  25. In total, Mx. Flowers worked an average of over 53 hours per week.

  26. On October 27, 2023, Mx. Flowers voluntarily terminated their participation in

     the program, primarily because of the long hours they were required to work

     without compensation for the extra hours.

  27. Prior to quitting, Mx. Flowers complained to their immediate supervisor and

     other managerial staff about the long hours researchers were expected to work,

     to no avail.

  28. In speaking to numerous other post-bacc researchers both inside and outside of

     their cohort, Mx. Flowers came to understand that the long hours they worked

     were typical of researchers in the program generally.

           COUNT I--VIOLATION OF THE FAIR LABOR STANDARDS ACT

  29. Plaintiff reallege and incorporate all allegations above as if set forth herein.

  30. At all relevant times, Defendant The Washington University, d/b/a Washington

     University School of Medicine, was an “employer” and an “enterprise” engaged in

     commerce within the meaning of the FLSA, 29 U.S.C. § 203(s)(1)(A).


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27. At all relevant times, Defendant “employed” Plaintiff and all other similarly situated

   employees, within the meaning of the FLSA, 29 U.S.C. § 203(e)(2)(C).

28. The FLSA requires each covered employer, including Defendant, to compensate all non-

   exempt employees at a rate of not less than one and one-half the regular rate of pay for work

   performed in excess of forty hours in a work week. 29 U.S.C. § 207(a)(1).

29. At all relevant times, Plaintiff and all similarly situated employees were non-exempt

   employees, subject to the FLSA, 29 U.S.C. § 213.

30. During the relevant period, Plaintiff and all similarly situated employees, regularly worked

   more than forty hours in a workweek.

31. During the relevant period, Defendant willfully failed to pay Plaintiff and all similarly

   situated employees an overtime premium for their hours worked over 40 in a workweek.

32. As a result of Defendant’s failure to compensate Plaintiff and all similarly situated

   employees at a rate of not less than one and one-half times the regular rate of pay for all work

   performed in excess of forty hours in a work week, Defendant has violated the FLSA, 29

   U.S.C. §§ 207(a)(1), (j).

33. The foregoing conduct, as alleged, constitutes willful violations of the FLSA within the

   meaning of 29 U.S.C. § 255(a).

34. The foregoing conduct, as alleged, also fails to meet the standard of good faith compliance

   with the FLSA within the meaning of 29 U.S.C. § 260.

           COUNT II—VIOLATION OF THE MISSOURI MINIMUM WAGE LAW

35. Plaintiff realleges and incorporates all allegations above as if actually set forth herein.

36. At all relevant times, Defendant was an employer, pursuant to the MMWL. Mo. Rev. Stat. §

   290.500(4).



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37. At all relevant times, Plaintiff and all other similarly situated employees were covered

     employees, pursuant to the MMWL. Mo. Rev. Stat. § 290.500 (3)

38. The MMWL requires employers, including Defendant, to pay employees for hours worked

     over forty in a work week “a rate not less than one and one-half times the regular rate at

     which he is employed.” Mo. Rev. Stat. § 290.505 (1).

39. Defendant has willfully failed and refused to pay its employees, including Plaintiff, an

     overtime premium equivalent to one and one-half times their regular rate of pay whenever

     these employees work more than forty hours in a workweek.

40. As a result of Defendant’s failure to compensate Plaintiff and all those similarly situated at a

     rate of not less than one and one-half times the regular rate of pay for all work performed in

     excess of forty hours in a work week, Defendant has violated the MMWL, Mo. Rev. Stat. §

     290.505 (1).

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief as follows:

1.   A declaratory judgment that the practices complained of herein are unlawful under the FLSA

     and MMWL;

2.   Pre-judgment interest, as provided by law;

3.   An award of money damages for unpaid overtime hours, including liquidated damages, in an

     amount to be determined at trial;

4.   An award of costs and expenses of this action incurred herein, including reasonable attorneys’

     fees and expert fees;

5.   Any and all such other and further legal and equitable relief as this Court deems necessary,

     just, and proper.



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                                          Respectfully submitted,
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                           DECLARATION AND VERIFICATION

        I, Astrid M. Flowers, verify and declare that the facts stated in the foregoing Verified
Complaint to the best of my knowledge and belief are true, and that the Complaint is not made
out of levity or by collusion with the Defendant, but in sincerity and truth for the causes
mentioned in the Complaint.




                                             ___________________________________
                                             Astrid M. Flowers
                                                    11 / 08 / 2024
                                             Date: ______________________________




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                 CONSENT TO JOIN FLSA/MMWL ACTION AGAINST
                         THE WASHINGTON UNIVERSITY
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

I consent to join the above-referenced action against The Washington University as a named
plaintiff to assert wage and hour claims under the Fair Labor Standards Act and the Missouri
Minimum Wage Law. I agree to be represented by The Rolwes Law Firm, counsel for Plaintiff.
I understand that I may withdraw my consent to proceed with my claims at any time by notifying
the attorneys handling this matter.
I agree to keep counsel for Plaintiff informed as to my correct mailing address and telephone
number.


_________________________
______________________
                    _____
Signature
11 / 08 / 2024
_________________________
Signature Date
Astrid Flowers
_________________________
Printed Name




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                                 Signed




          11 / 07 / 2024       Sent for signature to Astrid Flowers
          16:25:35 UTC-6       (flowers.margaret.m@gmail.com) from philip.oliphant@att.net
                               IP: 162.125.63.30




          11 / 08 / 2024       Viewed by Astrid Flowers (flowers.margaret.m@gmail.com)
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